223 F.2d 266
    G. W. WILSON, Appellant,v.Olin S. GODWIN, Director of Internal Revenue, and Robert W.McCorkindale, Internal Revenue Agent.
    No. 15010.
    United States Court of Appeals Eighth Circuit.
    May 5, 1955.
    
      Rex W. Perkins and E. J. Ball, Fayetteville, Ark., for appellant.
      H. Brian Holland, Asst. Atty. Gen., and Ellis N. Slack, Sp. Asst. to Atty. Gen., for appellee.
      PER CURIAM.
    
    
      1
      Appeal from District Court dismissed, on motion of appellant, etc.
    
    